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                            UNITED STATES DISTRICT COURT
                            SO UTHERN DISTRICT O F FLO RIDA
                              Case No.17-23051-W ILLlAM S

   M ERIDIA N TRUST CO M PANY,as Trustee,
   and AM ERICAN ASSOCIATED G RO UP,LTD.

          Plaintiffs,

   VS.

   EIKE BATISTA,efa/.

         Defendants.
                                              /

                                           O RDER

         THIS M ATTER is before the Coud on defendants,EFG CapitalInternationalCorp.

   (''EFG'')1and Banco Itau International's (1'Itau'') (collectively,the ''Bank Defendants'')
   m otion to dism iss (DE 83) Plai
                                  ntils'complaint (DE 75) (the S'Complaintnll to which
   Plaintiffs,Meridian TrustCompany (I
                                     'Meridian'')and American Associated Group,Ltd.
   (''
     AAG'')filed a response (DE 91)andthe Bank Defendantsfiled a reply (DE 96). Forthe
   reasonssetforth below,EFG and Itau'smotionto dismiss (DE 83)is GRANTED.
         BACKGROUND

         This case arises outofa dispute overseveralinvestm ents thatPlaintiffs m ade in

   Eike Batista's oiIexploration com pany OGX. Plaintiffs are foreign entities that held

   investments on behalfofan elderly Floridian and his family members. (DE 75 IN 3-5).



   1Plaintiffsoriginally filed this action on January 12,2017,in state court.O n July 11,2017,
   Plaintiffs'amended theirstate coud com plaint to add the Bank Defendants. Afterthe
   Bank Defendants rem oved the case to this Coud,Plaintiffs filed the Com plaint,w hich is
   the subjectofthis motion.(DE 1II!I2-3).
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   Defendants are Eike Batista, a Brazilian nationaland OW ner Of Several K m panies

   incorporated forthe purpose ofdeveloping an oiIexploration venture in Brazil'
                                                                               ,Batista's

   oil-exploration related companies (I
                                      SEBX Group'
                                                'l'
                                                  ,cedain ofBatista's family members'
                                                                                    ,
   cedain ofBatista's business associates'
                                         ,and the Bank Defendants w hich held some of

   Batista'saccounts.(DE 75 15 6-35).
          In 2007,the Brazilian governm entannounced itwould auction offdrilling leases to

   com paniesthatwished to explore foroiIin w hatwas prom ised to be ''som e ofthe richest

   deep-wateroiIfields''offthe Braziliancoast.(DE 75 % 189).Accordingto the Complaint,
   Batista raised approximately $1.3 billiondollars in private equityto bid forthe projectbut
   justbefore theauctionthe Braziliangovernmentwithdrew thedeep-waterfieldsfrom play
   and,instead,auctioned som e oId shallow-waterfields thatwere generally viewed as

   ''worthless.' (DE 75 IN 190-191).Nonetheless,Batista moved forward with the bid and
   wasawarded the exploratory concession fortwenty-one exploratory blocks. (DE 75 IN
   192-194). In orderto carry outthis undedaking,Batista,throughthe EBX Group,had to
   raise m illions ofdollars in capitalfrom the investing public through both private and public

   security offerings. (DE 75 TN 200,203,253,341,427,431,432,445,455). Thus,
   between 2008 and 2013,Batista and otherco-defendants ran a targeted cam paign to

   induce investors(mainly U.S.investors)to investin OGX,eventhoughtheyknew thatthe
   projectwould ultimatelyfail.(DE 75!1202).Throughoutthe campaign,Batistaand some
   ofhis co-defendants m ade a num berofstatem ents thatwere eitherm isleading orfalse

   to induce investors into financing the project. (Id.j. Some ofthese representations
   included:




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          @ False statements setfodh in the ''M aterialFacts''z of EBX Group com panies,
             indicating,forexample,that(i)OGX wassitting onasm uchas4.8billionbarrels
             ofoil'
                  ,(ii)OGX had struck oilin the Vesuvio oilfield,which was expected to
             produce between500millionand 1.5 billionbarrelsofrecoverable oil;(iii)OGX
             discovered between 400 m illion and 500 m illion barrels of oiIin the '
                                                                                   tpipeline
             Formation''oilfield'
                                ,and (iv)OGX seta production targetof1.4 million barrels
             perday by 2019,based on the discovery ofa new oiIfield (DE 75 15 222,
                                                                             .

             226,239,257).
         @ Statem ents m ade during an appearance on the Charlie Rose TV show thathe
           had discovered '1a hundred billion barrels ofrecoverable oil'
                                                                       '(DE 75!1264).
                                                                         .




         * Statem ents m ade during video interview broadcasted in XPTV w here Batista
           claim ed thatOG X had ''the bestexploratory blocks in the world'
                                                                          'with ''one trillion
             dollars-wodh''ofoiIandthatthe com panywaswodhupto$'$100 billiondollars.''
             (DE 75!1269).
         * Announcem entofsignificantoiIdiscoveries during a private meeting in Miam i
             wi
              thgroup ofhigh-net-wodh investors.(DE 75 !r286).

         . Statementmade by Batista to repoders (published by Bloomberg)thatmajor
           Chinese oiIcompanieswere bidding forOGX assets. (DE 75!1289).
         @ Statem entm ade by defendant Mendonca in a press release thatO GX'S net
             potentialresources in 'recoverable oil''were 10.8 billion barrels.(DE 75:1303).
          Batista and som e ofhis co-defendants knew thatthese statem ents were untrue       .



   An internalO GX JointTask Force had concluded in Septem ber2012 thatvery Iittle oiI

   was recoverable, and that m ost of the oiIwas contam inated,w hich w ould m ake its

   extractiondi
              fficult.(DE 75$ 377).TheTask Force had also concluded,'
                                                                    dthateven inthe
   best-case scenario,the company had a negative value ofaboutone billion dollars.''(DE
   75 !1377). Nevedhel
                     ess,Defendants failed to disclose this information and in 2013,
   through an investmentadviser,Plainti
                                      ffsinvested in these OGX bonds.(DE 75 % 58).



   2 M aterialFacts are public disclosures required by Brazilian Iaw whereby directors of
   public com panies are required to disclose any events,w hich m ightaffectequity and debt
   investordecisionsto buy orsellstockinthatcompany. (DE 75 !1205).
                                              3
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          Confronted with this dire econom ic reality,Batista began to sellchunks ofOGX

   shares in May 2013. (DE 75 % 468). On July 1,2013,OGX finally announced thata
   numberofits wells were unproductive and thatnone ofits priorprojections should be
   relied upon by prospective investors. (DE 75 !1476). Meanwhile,Batista and some of
   his co-defendants were moving assets from their EBX G roup com panies to other

   companies,through bankaccounts heldwiththe Bank Defendants (DE 751N 496,518):
          * On September24,2012,defendant63X MasterFund transferred $1.7 million
             from its accountatltau to 63X M asterFund atMorgan Stanley & Co.;

         . On February4,2013,63X defendantMasterFundtransferred $1.5 millionfrom
             its accountatItau to 63X M asterFund atJP Morgan Chase,N.A.;

          . On February 12,2013,defendant63X MasterFund transferred $6.4 million
             from its accountatItau to defendantAux Luxem bourg atItau Unibanco S.A.-
             Nassau Branch' ,

         * On June 24,2013,defendant63X MasterFund transferred $30.8 million from
             its accountatItau to defendantCentennialDelaware also atItau;and

         * On November21,2014,defendant63X MasterFund transferred $13 m illion
             from its accountatItau to defendantAux LLC also atItau.

   (DE 75 %476).Additionally,according tothe Com plaint,inAugust2013,Batistaand his
   co-defendantfam ily m em bers setup a fam ily trustin M iam iw ith the assistance ofM arcus

   Bedo,Erick Magno and Erick Magno PL. (DE 75 IN 169-174). More than $70 million
   flowed through thetrust,some ofwhichwastransferred totrustaccounts atEFG.(DE 75
   !1168). Based on these facts,Plaintiffs brought the instant lawsuit againstthe Bank
   Defendants.3



   3 Eike Batista and some of his co-defendants have been the subject of indictments,
   investigations and bankruptcy proceedings in Brazil. W hile those proceedings are not
   relevantto the issues ofthis padicular m otion,the Parties have referenced the broad
   Iandscape oflitigation attendantto the mattersathand,and the Coud notesthis backdrop.
                                               4
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          LEGAL STANDARD

          To survive a Rule 12(b)(6)motionto dismiss,a plaintiffmustplead sufficientfacts
    to statea claim thatis''plausible on itsface.''Ashcroft7.Iqbab 556 U.S.662,678 (2009)
    (quoting BellAtlantic Corp. ?. Twombly,55O U.S.544, 570 (2007)). The Coud's
    consideration is limited to the allegations presented. See GSG Inc.v.Long Cty.,999

    F.2d 1508,1510 (11th Cir.1993). AlIfactualallegations are accepted as true and all
    reasonable inferences are drawn in the plaintiff's favor.See Speaker v U.S.Dep'tof
                                                                                 .




    Health & Hum an Servs.Ctrs.for Disease Control& Prevention,623 F 3d 1371,1379
                                                                             .




    (11th Cir.2010)'
                   ,see also Robertsv.Fla.Power& LightCo.,146 F.3d 1305,1307 (11th
   Cir.1998). Nevedheless,while a plaintiffneed notprovide 'detailed factualallegations,''
   the allegations m ustconsistofm ore than ''a form ulaic recitation ofthe elements ofa cause

   of action.'' Twombly, 550 U.S. at 555 (internal citations and quotations omitted).
   ''lclonclusory allegations, unwarranted factual deductions             Iegal conclusions
   m asquerading as facts w illnotpreventdism issal.''' Davila v.Delta Air Lines, Inc., 326

    F.3d 1183,1185 (11th Cir.2003). The ''llactualallegations m ustbe enough to raise a
   rightofreliefabove the speculative Ievel.'' G affs B.Fla.Int'
                                                               lUniv.,495 F.3d 1289,1295

   (11th Cir.2007)(quoting Twombly,550 U.S.at545).
          In addition to the requirements of Twombly, Iqbal, and Federal Rule of Civil

   Procedure 12(b),causes of action sounding in fraud are subjectto the heightened
   pleading standardsofFederalRuleofCivilProcedure 9(b).SeeAmbrosia Coal& Constr.
   Co.v.PagesMorales,482 F.3d 1309,1316 (11thCir,2007).Thatrule providesthat''liln
   alleging of fraud or m istake, a pady m ust state with padicularity the circum stances

   constituting fraud ormistake''butthattllmlalice,intent,knowledge,and otherconditions


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    ofa person's m ind m ay be alleged generally.'' Fed.R.Civ. P.9(b).Consequentl
                                                                                y,''(tJo
    satisfy the Rule 9(b)standard,Efraud claim s)mustallege:(1)the precise statements,
    documents, or misrepresentations made'
                                         , (2) the time and place of and person
    responsible forthe statement'
                                ,(3)the contentand mannerinwhichthe statementsm isled
   the Plaintiffs;and (4)whatthe Defendants gained by the allegedfraud.''Ambrosia Coal,
   482 F.3d at1316-17 (ci
                        ting Brooks v.Blue Cross & Blue Shield,116 F.3d 1364,1380-81
    (11th Cir.1997)).
    III.   D ISCUSSION

           The Bank Defendants m ove to dism iss on severalgrounds First,Itau argues that
                                                                     .




   Counts 3 and 10 foraiding and abetting fraud and civiltheftshould be dism issed because

   Plaintiffshavefailedtoallege(i)theexistence ofan underlyingtod,(ii)thatItau hadactual
   knowledge ofthe fraud ortheftand (iii)thatItau engaged in substantialassistance ofthe
   alleged fraud orciviltheft. Second,Itau argues that Counts 2 and 9 forconspiracy to

   defraud and com m ittheftshould be dism issed forthe sam e reasons as Counts 3 and 10,

   and because Plaintiffs did notplead these claim s with sufficientpadicularity Third,Itau
                                                                              .




   argues thatCounts 4 and 5 forRICO and RICO conspiracy shoul
                                                             d be dism issed because

   (i) Plaintiffs cannotallege any predicate criminalacts as to Itau and (ii)Plainti
                                                                                   ffs Iack
   standing to bring RICO claims. Finally,the Bank Defendants m ove to dism iss Count12

   forconspiracy to violate FUFTA because (i)there is no private cause ofaction under
   FUFTA againsta non-transferee,(ii)the transactionsbetweenBatista and hisentitiesare
   nottransfers underFUFTA,(iii)there is no pri
                                              vate action formoney Iaundering,and (iv)
   the conspiracy allegations are non-specific,conclusory and insufficient.




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         A. Counts 3 and 10 forAiding and Abetting Fraud and CivilTheftAgainst
            Itau

         A cause of action foraiding and abetting under Florida Iaw requires 11(1) an
   underlyingviolation onthe partofthe primarywrongdoer'
                                                       ,(2)knowledge oftheunderlying
   violationbyalleged aiderand abetter(s/c)'
                                           ,and(3)the renderingofsubstantialassistance
   in com m itting the wrongdoing by the alleged aiderand abettor.'' W iand v. W ells Fargo

   Bank,N.A.,938 F.Supp.2d 1238,1244 (M.D.Fla.2013). l
                                                     'In orderfora claim ofaiding
   and abetting to survive a m otion to dism iss,the plainti
                                                           ffm ustallege thatthe defendant
   had actualknowledge ofthe underlying wrongdoing.''Lam m ?.Stafe St.Bank & Tr.Co.,

   889 F.Supp.2d 1321,1332 (S.D.Fla.2012),aff'd sub nom.Lamm v.State St.Bank &
    Tr.,749 F.3d 938 (11th Cir.2014). ldgW lhile the elementofactualknowledge may be
   alleged generally,the plaintiffstillm ustaccom panythatgeneralallegation with allegations

   ofspeci
         fic dfacts that give rise to a strong inference ofactualknow ledge regarding the

   underlying fraud.'' Id. l'Conclusory statementls)thata defendant 'actually knew'(is)
   insufficientto suppod an aiding and abetting claim w here the facts in the com plaintonly

   suggestlJthatthe defendanttshould have known thatsomething was amiss.'''Platinum
   Estates,Inc.v.TD Bank,N.A.,No.11-60670-CIV,2012W L760791,at*3 (S.D.Fla.Mar.
   8,2012).
         Itau first argues that its only purpoded wrongfulconductw as the execution of

   custom ertransfers,which do notconstitute a tortunderFlorida Iaw. Second,Itau argues

   thatPlaintiffs did notsufficiently allege thatItau had actualknowledge ofthe underlying

   violation. Finally,Itau argues thatitcould nothave engaged in substantialassistance of

   the alleged fraud orciviltheftbecause itowed no duty to Plaintiffs,w ho are third-pady,

   non-custom ers. Plaintiffs do notrespond to the Bank Defendants'argum entthatPlaintiffs
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   failed to allege the existence ofan underlying tod. See Hudson v.Norfolk Southern Ry.

   Co.,209 F.Supp.2d 1301,1324 (N.D.Ga.2001)(''lwlhen a pady failsto respond to an
   argum ent or otherw ise address a claim , the Coud deems such argum ent or claim

   abandoned''l;8/ack v.Panola Sch.Dist,461 F.3d 584,588 n.1 (5th Cir.2006)(finding
   thatplaintiffabandoned claim byfailing to defend itin response to a motion to dismiss).
   However,the Courtneed notaddressthis issue because Plaintiffs have notpled sufficient

   facts to supporta finding ofactualknowledge ora finding thatltau engaged in substantial

   assistance ofthe alleged fraud.;

          The Com plaintdoes not allege sufficientfacts regarding actualknow ledge,only

   facts thatItau d'should have know n''aboutthe alleged fraud. Plainti
                                                                      ffs allege throughout

   the Com plaintthatItau worked closely with Batista,that Itau 'dwould have''access to aII

   relevantinformation and thatItau 'tm ust have know n''that Batista was broke afterthe

   O GX JointTask Force concluded in 2012 thatthe fields had vidually no oil. Plainti
                                                                                    ffs also

   suggestthatthe Iarge am ounts ofm oney thatBatista was m oving in 2013 were atypical



   4 Before discussing the m erits of the m otion,the Coud is com pelled to com m ent on
   Plaintiffs'briefing. In responding to a m otion to dism iss,Plaintiffs have l'the responsibility
   (to)inform ()the ...court''ofthe basis forits position and $'(to)identify those podions of
   the pleadingsj''which they believe dem onstrate thatthey have stated a claim . Fitzpatrick
   v.City ofAtlanta,2 F.3d 1112,1115 (11th Cir.1993)(quoting Celotex Corp.v.Catrett,
   477 U.S.317,323,106 S.Ct.2548,91 L.Ed.2d 265 (1986)). Padicularly,in cases Iike
   this one,with a com plaintconsisting ofover 100 pages and 600 paragraphs,Plaintiffs
   need to reference padicularparagraphs orpages ofthe com plaintthatsupported their
   argum ents. Instead,Plaintiffs'briefis a condensed version ofthe Com plaintthatfails to
   respond to num erous argum ents m ade by the Bank Defendants and is replete w ith
   conclusory statements thata claim has ''been clearly pleaded''orwas t'sufficiently pled.'
   However,''gludges are notIike pigs,hunting fortrufflesburied in briefs,''and thisCourtis
   notresponsible forl
                     tferreting out'the salientfacts needed to suppod Plaintiffs'arguments.
   See United States v.Dunkel,927 F.2d 955,956 (7th Cir.1991)(Posner,J.)'    ,see also
   Chavez v.Sec' y Florida Dep'tofCorr.,647 F.3d 1057,1061 (11th Cir.2011)('     ldistrict
   coudjudgesare notrequired to ferretoutdelectable facts buried in a massive record.').

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   andtherefore created aninferenceoffraud.s Butcouds inthisdistricthave rejected these
   types of''should have know n''argum ents. Forexam ple,in Lam m ,the courtfound that

   plaintiffs had insufficiently pled actualknowledge where the allegations established, at

   m ost,thatthe bank defendantdisregarded ''
                                            obvious red flags''and should have known of

   the underlying tods. Lam m ,889 F.Supp.2d at1332. Sim ilarly,in Platinum Estates, the

   courtrejected plaintiff'sclaim thatthe bank 'should have known''abouttheallegedfraud,
   stating that'dred flags oraroused suspicions do notconstitute actualaw areness ofone's

   role in a fraudulent schem e.' Platinum Estates,2012 W L 760791,at *4. Finally, in

   Perlman v.W ellsFargo Bank,N.A.,559 F.App'x 988,993 (11th Cir.2014),the Eleventh
   Circuitplainly rejected the notionthata seriesofatypicalbankingtransactionsconsti
                                                                                   tute
   actualknowledge on the partofthe bank. There,the Courtstated:

         Florida does notrequire banking insti  tutions that conduct routine banking
         services to investigate transactions involving its dem and depositaccounts',
         therefore, m erely alleging that a bank should have know n of a Ponzi
         schem e based solely on a series ofpurpodedly atypicaltransactions is not
         sufficientto survive Twom bly.
                                            ***

         Perlm an alleges a m ultitude of atypical transactions and procedural
         oddities, including: Theodule's opening of various accounts, num erous
         transfers am ongst the accounts within short time periods,thousands of
         deposits ofeven dollaram ounts,Iarge cash deposits and w ithdrawals,the
         absence ofany investm entactivity,and W ells Fargo's lifting ofthe freeze
         on the W eaIth Builders account without fudher investigation. These
         allegations fall short of raising a plausible inference that W ells Fargo
         actually knew that Theodule was engaging in fraudulent activity.At m ost
         they Iistfacts thatcould arouse suspicions,and are notsufficientto trigger
         any obligation by W ells Fargo to investigate.W hile these ''red flags''m ay


   5 Plaintiffs also include allegations detailing som e of the transactions that Batista and
   severalofhis co-defendants engaged in w ith the corporate parentand otheraffiliates of
   Itau. (DE 75 IN 154-160) Plaintiffs have failed to sufficiently allege,however,thatthe
   corporate parent had actualknowledge ofthe underlying tods,or that such purpoded
   know ledge could be im puted to Itau. See Davidson B.W ilson,763 F.Supp.1470,1472
   n.8 (D.Minn.1991)(alleging mere affiliationbetween corporate defendantsisinsufficient
   to establish agreement),affd,973 F.2d 1391(8th Cir.1992)
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           have putthe bankl)on notice thatsome im propriety may have beentaking
          place, those alleged facts do not create a strong inference of actual
          knowledge.The districtcoud properly concluded thatPerlm an's Com plaint
          failed to state claim s forreliefforaiding and abetting.

    /d. (internalcitationsomitted).
          As in Per/m an,Plaintiffs here have alleged ''atypicaltransactions and procedural

    oddities''w hich are insufficientto state a claim prem ised on actualknowledge Forthese
                                                                                 .



    reasons,Plainti
                  ffs'claim thatItau had actualknow ledge ofthe purpoded fraud does not

    withstand the motion to dism iss.

          M oreover,even if the Com plaint had properly pled actualknowledge, Plaintiffs

    cannot establish that Itau engaged in substantialassistance of the underlying torts

    because Itau had no duty to protecta third party,non-custom er, from alleged fraud or

    theft. Plaintiffs have notalleged thatItau owed any particularduties to them , and,''as a

    m atterofIaw ,a bank does notowe a duty ofcare to non-custom ers regarding the opening

    orm aintenance ofits accounts.'' Megava/Snferprfses,Lfd.v.Bank ofAm ., N.A .,No.14-

    20909-CIV,2014 W L 12609318,at*4 (S.D.Fla.Oct.8,2014). ''W hen no duty of
    disclosure is alleged,an alleged aider-abettorm ay be found Iiable only ifscienterofthe

    high conscious intentvariety can be show n.'' Platinum Estates, 2012 W L 760791,at*4.

    Moreover,'dlmlere inaction constitutes substantialassistance only ifthe defendantowes
    a fiduciary duty directly to plaintiff.'' Chang v.JP M organ Chase Bank,N.A., 845 F.3d

    1087,1098 (11th Cir.2017).
          Although Plaintiffs pointto Chang forthe proposition thata bank can be found to

    have engaged in substantialassistance offraud againsta non-customer,the Coud finds

    thatChang is inapposite. Chang involved a fraudulentschem e w here the ownerofa title

    com pany stole m oney from his client's escrow funds. The Eleventh Circuitfound that
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    plaintiffhad stated a claim foraiding and abetting because the bank (i)owed afiduciary
    dutyto the plaintiffand (ii)knew ofthe ongoing fraud. /d.The Coud found thatthe bank
    had actualknow ledge ofthe fraud because,am ong otherthings, one ofits bank officers

    had been bribed to open the escrow accountw ithoutusing the properprocedures ld.at.




    1091. Under those ''particular circumstances,''the bank's conduct was sufficient to

    constitute substantialassistance. /d.

            No such circum stances existhere. lnstead, Iike Platinum Estates,Plaintiffs have

    failed to sufficiently allege the requisi
                                            te degree ofscienterbecause ldred flags oraroused

    suspicions do not constitute actualawareness of one's role in a fraudulent scheme ''   .



    Platinum Estates,2012 W L 760791,at*4. Additionally, no duty - fiduciary orotherwise
    -
        has been alleged orestablished in the Com plaint. Consequently, Counts 3 and 10

    againstItau also failunderthe substantialassistance prong ofaiding and abetting   .




            B. Counts 2 and 9 forConspiracy to Defraud and Com m itTheftA gainst
               Itau

           To state a claim forcivilconspiracy underFlorida law , Pl
                                                                   aintiffs mustallege:$t(a)
    an agreementbetweentwo ormore parties,(b)to do an unlawfulactorto do a Iawfu!act
    by unlawfulmeans,(c)the doing ofsome oved actin pursuance ofthe conspiracy,and
    (d)damage to plaintiffas a resultofthe actsdone underthe conspiracy.'' United Techs.
    Corp.v.Mazer,556 F.3d 1260,1271(11th Cir.2009). '
                                                    dconspiracy claims Esounding in
    fraud)m ustalso meetRule 9(b)'s heightened padicularity requirements.' Cont'
                                                                               l332
    Fund,LLC v.Albertelli,317 F.Supp.3d 1124 (M.D.Fla.2018). t'Generalallegations of
    conspiracy are inadequate. A com plaint m ust Slset fodh clear, positive,and specific

    allegations ofcivilconspiracya'' Eagletech Com m cbs,Inc.B.Bryn M awr Inv Gp .,/r?c.,
                                                                                 .




    79 So.3d 855,863 (FIa.4th DCA 2012).
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           Itau contends that Plaintiffs'claim s for conspiracy m ust be dism issed because

    there is no tortunderlying the conspiracy.Again,Plaintiffs do notrespond directly to this

    argum entbutm erely re-recite the allegations in the Com plaintand pointto severalcases

    thatdiscuss the elem ents for civilconspiracy underFlorida Iaw. The Court, however,

    need notconsiderPlainti
                          ffs'unresponsiveness because the Courtfinds thatPlainti
                                                                                ffs did

    not plead su#icient facts that an agreement existed between Itau and the other

    defendants to com m ita wrongfulact. To illustrate,the Courtcites som e ofthe relevant

    allegations.
               .

          @ Upon inform ation and belief, each of the three banks nam ed above had
            extremely close relationships w ith BATISTA and his co-conspirators and
            accom plices and differentdivisions and subsidiaries within those groups
            assisted BATISTA and his co-conspirators and his accom plices in routing
            funds internationall y to ultim ate repository accounts in secrecy
              jurisdictionsaround theworld. (DE 75!1390)
          @ ltis unknow n before discoverywhetherthe degree ofknowledge and com plicity
              ofCitibankandBTG'SU.S.operationswouldjusti
                                                       fyjoiningtqese banksinthis
              action as defendants.However,itis known thatBANCO ITAU M IAM Iprovided
              banking facilities and hosted accounts in M iam iand,upon inform ation and
              belief, knowingly Iaundered m oney and assisted BATISTA and his co-
              conspirators and accomplices to fraudulently evade creditors in Florida. (DE
              75 !(392)
          * Stading in Septem ber 2012, BATISTA and his co-conspirators and
              accomplices had 63X MASTEQ FUND make the following transfers out
              of its accounts at BANCO ITAU M I    A M I. Some transfers m oved m oney out
              ofFlorida. Others shuffled money between titularowners and accounts atthe
              sam e bank.Itis believed thatthese transactions were a sm allpad ofa m uch
              greqterand more complex setoftransfers thatwere achieved with BANCO
              ITAU M IAM I'S w illing assistance, in an effort to defraud, hinder, or delay
              creditors...(DE 75!1395)
          Aside from Plaintiffs'conclusory and unsuppoded assedions of an agreem ent,

    nowhere inthe allegations cited above orinthe Com plaintdo Plaintiffs provide anyfactual

    predicate to dem onstrate that Itau ''agreed''with otherdefendants to defraud Plaintiffs.
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    First,m ostofPlaintiffs'allegations againstltau are based d'upon inform ation and belief,''

    which the Courtneed nottake astrue.See Mann v.Palmer,713 F.3d 1306,1315 (11th
    Cir.2013)(citingBellAtlantic Corp.v.Twombly,550 U.S.544,551,557,127 S.Ct.1955,
    1962-63,1966,167 L.Ed. 2d 929 (2007)). Second,even taking aIIallegationsastrue,
    Plaintiffs failed to specify the 'snum erous times,''I             'and d'various places,''
                                                         'various dates'

    where and w hen Itau allegedly agreed and conspired w ith otherdefendants to defraud

    Plaintiffs. (See DE 75TN 544,579).Atmost,the Complaintalleges thatBatista and his
    com panies m oved m oney to and from his accounts atItau. Butthatalone is insufficient

    to state a claim for civilconspiracy against Itau with padicularity. Finally, Plaintiffs'

    allegations regarding the ltau affiliates also failto establish an agreem entto defraud.

    (See DE 75I1% 154-160)(listing loansthatltau's corporate parentand affiliates made to
    Batistaand hiscompaniesl;Davidson,763 F.Supp.at1472n.8 (allegingmereaffiliation
    betweencorporatedefendantsisinsufficienttoestablishagreement),afrd,973 F.2d 1391
    (8th Cir.1992). Thus,Counts 2 and 9 ofthe Complaint against Itau must also be
    dism issed.

           C. Counts 4 and 5 forRICO and RICO Conspiracy AgainstItau

           The Com plaintallegesthatItau engaged in three predicate RICO acts:federalw ire

    fraud, Florida com m unications fraud and federal money Iaundering. Itau m oves to

    dism iss the RICO claim s arguing thatPlaintiffsdid notsufficiently allege predicate crim inal

    acts and that,in any event,Plaintiffs Iack standing to bring a RICO claim because they

    did notsuffera directinjuryfrom the acts ofItau. In response,Plaintiffs argue thatthe
    RICO statute should be interpreted Iiberally and thatthey have properly pled the predicate
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    acts and the conspiracy. Plaintiffs do notrespond to ltau's argum entthatPlaintiffs lack

    standing.

           The Florida RICO Actmakes it 'unlawfulforany person ...(elmployed by,or
    associated with,any enterprise to conduct or padicipate,directly or indirectly,in such

    enterprise through a pattern of criminalactivi
                                                 ty....''Fla.Stat.j 772.103(3). Thus,to
    recover under RICO, a civil plaintiff must establish that defendant (1) operated or
    managed (2)anenterprise (3)through a pattern (4)ofracketeering activitythatincluded
    atIeasttwo racketeering acts. Ray v.SpiritAirlines,Inc.,836 F.3d 1340, 1348 (11th Cir.

    2016).6 Additionally,plaintiffmustshow 1(1)the requisite injuryto 'businessorproperty,'
    and (2)thatsuch injury was 'by reason of'the substantive RICO violation.'' See id,
                                                                                     '
    O'Malley,599 So.2d at1000 (''W e hold,therefore,thatindirectinjuries,thatis,injuries
    sustained notas a directresultofpredicate acts underthe Florida RacketeerInfluenced

    and Corrupt Organizations Act,Chapter 895,Florida Statutes (1991),willnotallow
    recovery underFlorida RICO'
                              '). Moreover,to state a claim forcivilconspiracy Plainti
                                                                                     ffs
    m ustallege:''(a)anagreementbetweentwo ormore padies,(b)to do an unlawfulactor
    to do a Iawfulactby unlawfulmeans,(c)the doing ofsome overtactin pursuance ofthe
    conspiracy,and (d)damageto plaintiffasa resultofthe actsdone underthe conspiracy.''
    United Techs.Corp.v.Mazer,556 F.3d 1260,1271(11th Cir.2009).
          Further,because each ofthe three predicate acts alleged by Plaintiffs require proof

    of scienter,in orderto survive the m otion to dism iss,Plaintiffs ''m ustallege eitherthat




    6''Since Florida RICO is patterned afterfederalRICO , Florida courts have Iooked to the
    federalcouds for guidance in interpretinq and applying the act.Therefore,federal
    decisions should be accorded greatweight.H O '
                                                 M a#ey v.St.Thom as Univ.,Inc.,599 So.
    2d 999,1000 (FIa.3d DCA 1992).
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    (Itau) had fraudulent intentwhen comm itting the banking transactions outlined in the
    com plaintor,ata m inim um ,knew thatthe money involved in these transactions derived

    from unlawfulactivity.' Republic ofPanama v.BCCIHoldings (Luxembourg) S.A.,119
    F.3d 935,949 (11th Cir.1997) (stating thatfederalwire fraud and money Iaundering
    require proof ofscienterl'
                             ,Fla.Stat.j 817.034(4)(b) ($'Any person who engages in a
    scheme to defraud and,in furtherance ofthatschem e,com m unicates with any person

    wi
     th intent to obtain propedy from that person is guil
                                                        ty, for each such act of

    comm unication,ofcommunicationsfraud...''). $A RICO plaintiff's allegations ofscienter
    cannotbe 'merely conclusory and unsuppoded by any factualallegationsa''Republic of

    Panama,119 F.3d at949. Impodantly,l'lblankers do notbecome racketeers by acting
    Iike bankers.''Terry A.LambertPlumbing,Inc.v.> Sec.Bank,934 F.2d 976,981 (8th
    Cir.1991).
             ,see also Republic ofPanama,119 F.3d at950 (noting policy concerns in
    holding banksIiableforknowingthe source oftransferred fundsl'
                                                                , SuperVision Int'
                                                                                 l,Inc.
    v.Mega Int'
              lCommercialBank Co.,534 F.Supp.2d 1326,1338 (S.D.Fla.2008).
          As a prelim inary m atter,Plaintiffs have notpled the elem ents ofthe predicate acts

    with sufficientpadicularity. Plaintiffs generally state thatthe Defendants have com m i
                                                                                          tted

    ''num erous acts''ofw ire fraud,m oney Iaundering and Florida com m unications fraud but

    they have failed to specify the '
                                    swho,''the dlwhen,''the lswhere,''and the 'ihow''ofthese

    crim es. Moreover,the Courthas already found thatPlaintiffs failed to properly plead that

    Itau had actualknowledge ofthe alleged fraud orthe requisite degree ofscienter,because

    ''red flags or aroused suspicions do not constitute actualawareness of one's role in a

    fraudulentscheme.''Seesection3(A)supra.Accordingly,Plaintiffs'RICO claimsagainst
    Itau cannot survive the m otion to dism iss because Plainti
                                                              ffs have not pled factual
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    allegations thatwould give rise to a ù
                                         'strong inference''thatItau possessed the requisite

    factualintent. See id'
                         ,see also Levitan v.Patti,No.3:09CV321 M CR M D,2011 W L

    1299947,at *10 (N.D.Fla.Feb.8,2011),repod and recommendation adopted,No.
    3:09CV321MCR MD,2011W L 1215364 (N.D.Fla.Mar.31,2011)('
                                                          dW hen a plaintiff's j
    1962(c)claim consistsentirelyofthe predicate actsofmailandwirefraud,thesubstantive
    RICO allegations mustcomplywith the Twombly,Iqbal,and FederalRule 9(b)regarding
    allegationsoffraud ormistake.n).
            ln addition,Plainti
                              ffs lack standing to bring RICO claim s againstItau. To be able

    tobringa RICO claim,a plaintiffmusthavesuffered adirectinjurybecauseofdefendant's
    com m ission ofthe predicate act. Holm es v.Sec.InvestorProt.Corp.,503 U.S.258,279

    (1992). ''The connection between the racketeering activity and the injury can be neither
    rem ote, purely contingent,nor indirect.'' Ray, 836 F.3d at 1349. Thus,to establish

    proximate cause,the injury involved in fraud cases mustbe caused by reliance on the
    defendant's fraudulent m isrepresentations. Super Vision Int'l,Inc.,534 F.Supp.2d at

    1339.

            Here,Plaintiffs do notidenti
                                       fy in the Com plaintany m isrepresentations m ade by

    Itau,muchlessany reliance onthose alleged m isrepresentations.The injurysuffered by
    Plaintiffs was the Ioss oftheirinvestm entin O GX and thatIoss w as notdirectly caused

    by ltau'sactions. See SuperVision Int'
                                         l,Inc.534 F.Supp.2d at1339 (dismissing wire
    fraud RICO claim where plaintifffailed to allege thatthe injury was caused by plaintiff's
    reliance on defendant's alleged misrepresentations). At most,Itau's actions may be
    construed as an im pedim ent to Plaintiffs collecting a as yet undeterm ined favorable

    judgment,butthat type of injury is not sufficiently direct to state a claim for RICO


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    violations. Levitan,2011W L 1299947,at*14 (recommending dismissa!ofRICO claims
    where plaintiff's alleged injury was the possibility of a future favorable judgment).
    Accordingly,Plaintiffs'Com plaintfails to state a claim for RICO and RICO conspiracy

    violations againstItau.

           D. Count12 forConspiracy to Com m itFraudulentTransfers AgainstItau
              and EFG

           In Count12,Plaintiffs allege thatDefendants ''in ways,upon dates, and in places

    thatare unknown before discovery,beyond w hatis setforth above,conspired .. to m ake
                                                                                    .




    fraudulenttransfers.' Specifically,Count 12 alleges that'supon inform ation and belief,

    (Itau) ...and otherDefendants as discovery may reveal,agreed and conspired ...to
    defraud creditors by assisting in the transferoffunds...'' The Bank Defendants advance

    several arguments in suppod of their m otion to dism iss this claim . First, the Bank

    Defendants argue thatthere is no private cause ofaction under FUFTA againsta non-

    transferee,Iike the Banks in this case.Second,they argue thatthe transactions between

    Batista and his enti
                       ties are nottransfers underFUFTA . Third,they contend thatthere is

    no private action for m oney Iaundering. Finally,the Bank Defendants argue thatthe

    conspiracy allegations in the Com plaint are non-speci
                                                         fic, conclusory and insufficient.

    Plainti
          ffsdo notrespond to each argum entspecifically,butgenerally respond thatFlorida

    courts have found thatthere can be conspiracy Iiabilityfordam ages underFUFTA against

    non-transferees.?


    7In theirresponse to the m otion to dism iss, Plai
                                                     ntiffs also attem ptto justifythe primary
    FUFTA violation claim s against the Bank Defendants by asseding that the Bank
    Defendants were transferees. (DE 91 at43-49). However,notonly did Plaintiffsfailto
    plead thatthe Bank Defendants were transferees,butalso they failed to nam e the Bank
    Defendants in Count 11 forFUFTA violations. Therefore,there is no claim forprim ary
    FUFTA violations againstthe Bank Defendants.
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          The Courtfinds thatthe claim forconspiracy to com m itfraudulenttransfers fails

    because Plaintiffs have failed to properly allege a conspiracy.As stated before, '
                                                                                     'Egqeneral
    allegations ofconspiracy are inadequate.A com plaintm usttssetfodh clear, positive,and

    specific allegations ofcivilconspiracy.'' Sag/elech Com m c'
                                                               ns, Inc ,79 So 3d at863.
                                                                                 .



    Here,Plaintiffs do notprovide anyfactualstatem entsto supporta finding thatItau orEFG

    dlagreed''with otherdefendants to comm itfraudulent transfers. Just as w ith the other

    conspiracy claim s that Plaintiffs have brought against Itau, the allegations in the

    Com plaintare eitherw holly conclusory orbased ''upon inform ation and belief.''

          The Com plaint's pleading insufficiency is padicularly egregious because Plaintiffs

    advanced their FUFTA conspiracy claim by a generalsuggestion of fraud, thereby

    im plicating Rule 9. See Specfa/Purpose Accounts Receivable Co-op.Corp.v.Prime

    One CapitalCo.,Case No.06-61O55-CIV,2007 W L 2826603 *5 (S.D.Fla.Sept.25,
    2007) (applying 9(b) standard to fraudulent transfers claims under Fla. Stat. j
    726.105(1)(a)). Nonetheless,Plaintiffs havefailed to provide anydetailasto thealleged
    conspiracy,Ietalone the w ho,the what,the when,the where and the how ofDefendants'

    agreem ent and padicipation in this conspiracy. To satisfy the heightened pleading

    standard for conspiracy claim s based in fraud, Plaintiffs m ust at Ieast '
                                                                              dshow some

    evidence ofagreem entbetween the defendants.' Prestige Restaurants & Entm '
                                                                              t,Inc.v.

    Bayside Seafood Rest.,Inc.,2010 W L680905,at*4 (S.D.Fla.Feb.23,2010)(quoting
    Albra v.City ofForlLauderdale,232 Fed.Appx.885,890-91 (11th Cir.2007)). They




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    have not. Forthis reason,Plaintiffs'claim forconspiracy to com m itFUFTA violations is

    dism issed.8

          M oreover,the Courtagrees with Florida's Eleventh JudicialCircuitCourtand other

    couds in this District,which have opined:''FUFTA seem s inappropriate as applied to a

    bank. Itdoes notappearfrom a plain reading ofthe statute that itw as intended to be

    used in this m anner.'' See Isaiah v.W ells Fargo Bank,N.A.,Case No.14-15246-CA-40,

    at*1 (FIa.11th Cir.Ct.2015).''
                                 There does notappearto be any setoffacts thatcould
    suppod a FUFTA claim againsta bank,padicularly ifthatbank was only providing routine

    banking services to an alleged FUFTA debtorand nottaking controland dom inion over

    the funds in question.''Isaiah v.JpM organ Chase Bank,N .A.,No.16-CIV-21771,2017

    W L 5514370,at*2 (S.D.Fla.Nov.15,2017).
    IV.   CONCLUSIO N

          Plainti
                ffs'claim s againstthe Bank Defendants are prem ised on severaltransfers

    that Batista and his com panies m ade, allegedly to defraud creditors of his failed oiI

    venture. Essentiall
                      y,Plaintiffs argue thatthe Bank Defendants should have known that

    thesetransferwere fraudulentbecause:(1)the BankDefendantswere private banksand
    therefore,had a close relationship with theirclients,(2)the transactions atissue were



    8 The Coud recognizes that'sthere is a splitw ithin this Circuitas to whetherfraudulent
    transferclaims mustbe pled with the padicularity required by Rule 9(b).'' Oginsky v.
    Paragon Properties ofCosta Rica LLC,784 F.Supp.2d 1353,1369 (S.D.Fla.2011).
    However,as cited above,the Coud agrees w ith the Iine ofcases finding thatclaim s of
    actualfraudulent transfers need to be pled w ith padicularity. See Spec/a/ Purpose
    Accounts Receivable Co-op. Corp.,2007 W L 2826603 at *5*    ,see also Ben-Yishay v.
    MasfercraffDev.,LLC,No.08-14046-CIV,2009 W L 6387928,at*4 (S.D.Fla.Dec.14,
    2009)(applying 9(b)standard tofraudulenttransfersclaims).


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    atypicaland should have raised red flags,and (3)the corporate parents ofthe Bank
    Defendants worked closel
                           y with the otherdefendants and m usthave been aware ofwhat

    was going on. As explained above,these allegations are notsufficientto hold the Bank

    Defendants Iiable for conspiracy or aiding and abetting claim s for fraud, theft, RICO

    violations,or FUFTA violations where Plaintiffs cannot show actualknowledge, a high

    degree of scienter or the Banks' status as transferees   .   ''Bankers do not become

    racketeers by acting Iike bankers.'' S/per Vision Intj Inc.,534 F.Supp.2d at 1338.
    Accordingly,the Bank Defendants'motion to dism iss (DE 83)is GRANTED and the
    claim s againstthe Bank Defendants are DISM ISSED W ITH PREJUDICE      .




            DO NE AND ORDERED in cham bers in M iam i,Florida, this     day ofSeptem ber

    2018.




                                                  KATHLEE M .W ILLIAM S
                                                  UNITED S ATES DISTRICT JUDG E




                                             20
